Case 2:05-cr-20203-.]P|\/| Document 16 Filed 06/08/05 Page 1 of 2 Page|D 29

 

IN THE UNITED sTATEs DISTRICT CoURT raa;» ._a-. d
FoR THE WESTERN DISTRICT 0F TENNESSEE EL, l W_ $ _
WESTERN DIVISION w) ata ~B Ph Ii. 93

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UNITED STATES ()F AMERICA

V.

BARRY MYERS 05cr20203-lé‘§

 

ORDER ON ARRAIGNMENT

This cause came to be heard on the United States Attorney
for this district appeared on behalf of the vemment, and the defendant appeared in person and with

counsel:
NAME V§£L y ) MA~._) who is Retained/Appointed.

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

 

 

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, Who is not in custody, may stand on his present bond.
The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held Without bond pursuant to BRA of 1984), is remanded to the custody
of the U.S. Marshal.

 

 

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UNITED sTATES MAGISTRATE ]UDGE

CHARGES: interfere With commerce by threat or violence - 18:1951
Attorney assigned to Case: T. DiScenza

Age: 3 8/

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UNITED sTATE DRISTIC COUR - WSTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 2:05-CR-20203 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed

 

 

Timothy R. DiScenZa

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Honorable .l. Breen
US DISTRICT COURT

